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lN TH_E UNITED STATES DISTRICT CoURT b GU al n
FoR THE SoUTHERN DISTRICT oF INDIANA .,{_,.; »,~;¢ !.:',z
Evansville Division ;i \>; 9

 

UNITED STATES oF AMERICA, )
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and )
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THE STATE oF INDIANA )
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Plaintiffs, )
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v. ) CIvIL AcTIoN No.
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ToWN oF NEWBURGH, INDIANA, ) 3 - 0 5 'CV 0 19 9 'RLY W
)
Defendant. )
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CoNsENT DECREE

The United States of America (the “United States”), on behalf of the Administrator of the
United States Environmental Protection Agency (“EPA”), and the State of Indiana (the “State”),
on behalf of the Commissioner of the Indiana Department of Environmental Management
(“IDEM”) (collectively the “Plaintiffs”) have filed a complaint alleging that the defendant, the
Town of Newburgh, Indiana, has violated and continues to violate Section 301 of the Clean
Water Act, 33 U.S.C. § 1311, and the terms and conditions of the National Pollutant Discharge

Elimination System ("NPDES") Permit issued to the Town of Newburgh by IDEM.

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Without admitting any liability, the Town of Newburgh agrees to undertake the
compliance measures set forth in this Decree and also agrees to pay a civil penalty for alleged
past violations.

The Parties recognize, and the Court by entering this Consent Decree finds, that this
Consent Decree has been negotiated by the Parties in good faith and will avoid prolonged and
complicated litigation between the Parties, and that this Consent Decree is fair, reasonable, and
in the public interest.

NOW THEREFORE, it is hereby ORDERED, ADJUDGED, and DECREED as
follows:
I. JURISDICTION AND VENUE

l. This Court has jurisdiction over the subject matter of this action and over the
parties pursuant to Sections 309 and 505(a) ofthe Act, 33 U.S.C. §§ 1319, l365(a), and 28
U.S.C. §§ 1331, 1345, 1355, and 1367. Venue is proper pursuant to Sections 309 and 505(c) of
the Act, 33 U.S.C. §§ l319(b), 1365(c), and 28 U.S.C. §§ l39l(b) and (c) and l395(b). The
Complaint of the United States and the State of Indiana states claims upon which relief may be
granted under Section 309 of the Act, 33 U.S.C. § 1319, and Section 505 of the Act, 33 U.S.C.
1365.

II. BINDING EFFECT

l. This Decree, after entry, shall apply to and be binding on the United States, the

State of Indiana, and the Town of Newburgh, and on the Town of Newburgh’s elected officials,

officers, council members, directors, agents, trustees, employees, successors, assigns, and all

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persons, firms, and corporations acting under the control, authority, or direction of the Town of
Newburgh. The Town of Newburgh shall provide a copy of this Consent Decree to all
contractors and subcontractors hired to perform any portion of the work required under this
Consent Decree and shall make performance of work consistent with this Decree a condition of
any contract to perform work required by this Decree. The Town of Newburgh shall ensure that
its contractors and subcontractors perform the work required by this Decree in accordance with
the deadlines and requirements in this Decree and any attachments Nothing shall relieve the
Town of Newburgh of its obligation to comply with this Decree and the terms and conditions of
its NPDES Permit. The signatory for the Town of Newburgh represents that he or she is fully
authorized to enter into the terms and conditions of this Consent Decree and to bind the Town of
Newburgh legally.
III.` DEFINITIONS
l. Unless otherwise defined in this Decree, the terms used in this Decree shall have

the same meaning given to those terms in the Clean Water Act, 33 U.S.C. §§ 1251-1387, the
regulations promulgated under the Clean Water Act, and the Town of Newburgh’s NPDES
Permit.

(a) “NPDES Permit” means that version of the Town of Newburgh’s NPDES
Permit No. IN 0023892, including any modifications, renewals, or successors to such permit, that
is applicable and in effect during the term of this Consent Decree;

(b) “Sanitary sewer overflow” or “SSO” means an overflow, spill, release, or

diversion of wastewater from a sanitary sewer system. SSOs include: (i) overflows or releases of

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wastewater that reach waters of the United States and/or waters of the State of Indiana; (ii)
overflows or releases of wastewater that do not reach waters of the United States or waters of the
State of Indiana; and (iii) wastewater backups into buildings that are caused by blockage or flow
conditions in a sanitary sewer other than a building lateral.

IV. COMPLIANCE PROGRAM

2. NPDES Permit Compliance The Town of Newburgh shall comply with the
Clean Water Act, 33 U.S.C. § 1281 g seg., and all requirements contained in its NPDES Permit.

3. Comgletion of Work The Town of Newburgh has addressed alleged effluent
limitation and sanitary sewer overflow violations of its NPDES Permit through the completion of
several construction proj ects: (a) the elimination of Outfall 011 to Cypress Creek; (b) the major
upgrade of the wastewater treatment plant’s capacity from 2.3 million gallons per day (“MGD”)
to 4.6 MGD; (c) the provision of alternate power supply to the No. 5 (Triple Crown) and No. 8
(Old Plant) Lift Stations; (d) replacement of pumps and controls at the Old Plant Lift Station; (e)
the construction of an new 18 inch gravity sewer connected to the Old Plant Lift Station; and (f)
the closing and sealing of Outfall 009.

4. Capacig, Management, Ogeration, and Maintenance Plan The Town of
Newburgh has developed a written capacity, management, operation, and maintenance
(“CMOM”) plan, which the Plaintiffs have approved, for the sewer collection system that
Newburgh owns or over which Newburgh has operational control. The approved CMOM plan is

attached as Appendix A and is incorporated by reference. Within thirty (30) days after entry of

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this Consent Decree, the Town of Newburgh shall begin full implementation of the measures
and activities in the approved CMOM plan in accordance with the schedule set forth therein.
5. CMOM Program Audit Newburgh must conduct an audit of the first full
calendar year of implementation of the approved CMOM plan and submit a written report of
such audit (the “audit report”), evaluating Newburgh’s compliance with all plans, procedures,
requirements, standards, and schedules set forth in the approved CMOM plan, to the Plaintiffs
for approval. Newburgh must submit the audit report for approval no later than March 31 of the
year following the first full calendar year after entry of this Consent Decree. The audit report
shall include a schedule with deadlines which shall be incorporated by reference into this
Consent Decree, of steps that Newburgh will take to rectify any identified deficiencies. The
audit report’s schedule to rectify identified deficiencies shall not extend for more than 5 years.
Within thirty (30) days of approval or modification by the Plaintiffs of the audit report, the Town
of Newburgh shall begin implementation of the recommendations in the final audit report in
accordance with the schedule set forth therein. The Town of Newburgh shall make the final
approved audit report available to any member of the public upon request.

6. q Prohibition on Municipal Sanitag Sewer System Discharges Sanitary sewer
overflows that discharge to waters of the United States and/or waters of the State of Indiana that~-‘
occur from Newburgh’s sewer collection system are prohibited Neither the bypass or the upset

provisions at 40 C.F.R. § 122.41(m) and (n) apply to these discharges

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7. Review by the Plaintiffs of Submissions Made Pursuant to Section IV
(Compliance Program[

(a). After review of any plan, report or other item which is required to be submitted
for approval pursuant to this Consent Decree, the Plaintiffs shall: (1) approve, in whole or in
part, the submission; (2) approve, in whole or in part, the submission upon specified conditions;
(3) modify the submission to cure the deficiencies; (4) disapprove, in whole or in part, the
submission, directing that the Defendant modify the submission; or (5) any combination of the
above. However, the Plaintiffs shall not modify a submission without first providing Defendant
at least one notice of deficiency and an opportunity to cure within 30 days, except where to do so
would cause serious disruption to the Compliance Program or where previous submission(s)
have been disapproved due to material defects and the deficiencies in the submission under
consideration indicate a bad faith lack of effort to submit an acceptable deliverable.

(b) In the event of approval, approval with conditions, or modification by the
Plaintiffs, pursuant to Paragraph 9(a)(1), (2), or (3), Defendant shall proceed to take any action
required by the plan, report, or other item, as approved or modified by the Plaintiffs subject only
to their right to invoke the Dispute Resolution procedures set forth in Section IX (Dispute
Resolution) with respect to the modifications or conditions made by the Plaintiffs. In the event
that the Plaintiffs modify the submission to cure the deficiencies pursuant to Paragraph 9(a)(3)
and the submission has a material defect, the Plaintiffs retain their rights to seek stipulated

penalties, as provided in Section VII (Stipulated Penalties).

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(c) Resubmission of Plans. Upon receipt of a notice of disapproval pursuant to
Paragraph 9(a)(4), Defendant shall, within 30 days or such longer time as specified by Plaintiffs
in such notice, correct the deficiencies and resubmit the plan, report, or other item for approval
Any stipulated penalties applicable to the submission, as provided in Section VII, shall accrue
during the 30-day period or otherwise specified period but shall not be payable unless the
resubmission is disapproved or modified due to a material defect as provided in Paragraph 9(a)
and (b).

(d) Notwithstanding the receipt of a notice of disapproval pursuant to
Paragraph 9(a)(4), Defendant shall proceed, at the direction of Plaintifi`s, to take any action
required by any non-deficient portion of the submission. Implementation of any non-deficient
portion of a submission shall not relieve Defendant of any liability for stipulated penalties under
Section VII (Stipulated Penalties).

(e) In the event that a Rlaintiffs do not approve a resubmitted plan, report or other
item, or portion thereof, Plaintiffs may again require the Defendant to correct the deficiencies, in
accordance with the preceding Paragraphs. The Plaintiffs also retain the right to modify or
develop the plan, report or other item. Defendant shall implement any such plan, report, or item
as modified or developed by Plaintiff, subject only to their right to invoke the procedures set
forth in Section IX (Dispute Resolution).

(f) If upon resubmission, a plan, report, or item is not approved or is modified by
Plaintiffs due to a material defect, Defendant shall be deemed to have failed to submit such plan,

report, or item timely and adequately unless the Defendant invokes the dispute resolution

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procedures set forth in Section IX (Dispute Resolution) and the Plaintiffs’ action is overturned
pursuant to that Section. The provisions of Section IX (Dispute Resolution) and Section VII
(Stipulated Penalties) shall govern the implementation of the Compliance Program and accrual
and payment of any stipulated penalties during Dispute Resolution. If Plaintiffs’ disapproval or
modification is upheld, stipulated penalties shall accrue for such violation from the date on
which the initial submission was originally required, as provided in Section IX.

(g) All plans, reports, and other items required to be submitted to Plaintiffs under this
Consent Decree shall, upon approval or modification by Plaintiffs, be enforceable under this
Consent Decree, In the event Plaintiffs approve or modify a portion of a plan, report, or other
item required to be submitted to Plaintiffs under this Consent Decree, the approved or modified
portion shall be enforceable under this Consent Decree.

8. Within ten (10) days following the deadline or schedule for any requirement
under this Section (Compliance Prograrn), the Town of Newburgh shall notify the Plaintiffs in
writing of any noncompliance with the requirement, the reasons for any noncompliance, and a
plan for preventing such noncompliance in the future. Notification under this Paragraph shall
not excuse any failure to comply with this Decree.

V. REPORTING

9. Beginning with the first full calendar year that ends after the date of entry of this
Decree and for every following calendar year until this Decree terminates, the Town of
Newburgh shall submit to the Plaintiffs an annual written CMOM plan progress report, The

Town of Newburgh shall submit each annual report no later than March 31 of the year following

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the calendar year that is the subject of the annual report. The Town of Newburgh shall make
each report available for public inspection at the Town of Newburgh’s offices. The annual
report must describe Newburgh’s progress toward rectifying the deficiencies identified in the
approved audit report. Each annual report shall contain the following information for that year:

(a) the status and progress of projects scheduled to rectify deficiencies
identified in the approved audit report under Paragraph 7 of this Decree;

(b) a projection of the work to be performed to rectify deficiencies identified
in the approved audit report under Paragraph 7 of this Decree during the
next year;

(c) identification of any items that might affect timely completion of projects
scheduled to rectify deficiencies identified in the approved audit report
under Paragraph 7 of this Decree;

(d) a description of all efforts the Town of Newburgh will undertake to
minimize any anticipated delays in the timely completion of projects

t scheduled to rectify deficiencies identified in the approved audit report
under Paragraph 7 of this Decree; and

(e) any evidence of noncompliance with this Decree and all reasons for such
noncompliance

Notification under this Paragraph shall not excuse any failure to comply with this Decree,

10. The Town of Newburgh shall report discharges to waters of the United States
and/or waters of the State of Indiana from sanitary sewer overflows on the monthly discharge
monitoring report (“DMR”). The Town of Newburgh shall submit monthly DMRs and monthly
reports of operation (“MROS”) to U.S. EPA at the same time the Town of Newburgh is required
to submit those reports to the Indiana Department of Environmental Management.

11. The Town of Newburgh shall submit to U.S. EPA any written notice or report

regarding overflows or bypasses required by the Town of Newburgh’s NPDES Permit at the

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same time the Town of Newburgh is required to submit the notice or report to the Indiana

Department of Environmental Management.
12. Record Keeping. Newburgh shall maintain a record of the following information

for a period of at least three years after the date of the SSO or other event which is required to be

recorded under this Paragraph:

(a) for each SSO which occurred in Newburgh’s collection system or
as a result of conditions in a portion of the collection system:

(i) the location of the SSO and the receiving water, if any;

(ii) an estimate of the volume of the SSO;

(iii) a description of the sewer system component fi'om which
the SSO occurred, including but not limited to, manholes,
constructed overflow pipe, and pipe cracks;

(iv) the estimated date and time when the SSO began and when
it stopped;

(v) the cause or the suspected cause of the SSO; and

(vi) steps that have been and will be taken to prevent the SSO
from recurring and a schedule for those steps.

(b) Work orders associated with the investigation and/or correction of
system problems related to SSOs; and

(c) a list and description of complaints regarding SSOs from
customers or others.

13. Immediate Notifications and Follow-Up Reports. Newburgh shall provide the
following additional reports for SSOs that may imminently and substantially endanger human

health:

(a) Newburgh shall immediately notify the public, health agencies, drinking
water suppliers and other affected entities of such SSOs. The notice shall
be in accordance with the approved CMOM plan attached as Appendix A
to this Consent Decree;

(b) Newburgh shall provide to the Plaintiffs either an oral or electronic report
within 24 hours after the time Newburgh becomes aware of the SSO. The

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(C)

(d)

report shall identify the location, estimated volume and receiving water, if
any, of the SSO; and

Newburgh shall provide to the Plaintiffs within 5 days of the time
Newburgh became aware of the SSO a written report that contains:

(i)

(ii)
(iii)
(iv)

(v)
(Vi)

(vii)

(viii)

the location of the SSO;

the receiving water, if any;

an estimate of the volume of the SSO;

a description of the sewer system component from which
the release occurred, including, but not limited to,
manholes, constructed overflow pipe, and pipe cracks;
the estimated date and time when the SSO began and
stopped or will be Stopped;

the cause or suspected cause of the SSO;

steps taken or planned to reduce, eliminate, and prevent
reoccurrence of the SSO and a schedule of maj or
milestones for those steps; and

steps taken or planned to mitigate the impacts of the SSO
and a schedule of major milestones for those steps.

Upon Newburgh’s request, the Plaintiffs may waive the written report
required in Paragraph 15(c) on a case-by-case basis.

14. Annual Report. Beginning with the first full calendar year that ends after the

date of entry of this Consent Decree and for every following calendar year until this Consent

Decree terminates, Newburgh shall prepare an annual report of all SSOS from Newburgh’s sewer

collection system, including the date, the location of the SSO, any potentially affected receiving

water, and the estimated volume of the SSO. No later than March 31 of the year following the

calendar year that is the subject of the annual report the report, the Town of Newburgh shall

submit the annual report to the Plaintiffs and provide notice to the public of the availability of the

report.

15. In addition to all reporting requirements set forth in this Decree, Newburgh shall

continue to comply with all reporting requirements set forth in its NPDES Permit.

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VI. CIVIL PENALTY

16. The Town of Newburgh shall pay a civil penalty in the amount of $56,000_to the
United States within thirty (3 0) days of the Court's entry of this Decree. Payment of this civil
penalty resolves the civil claims of the United States and the State for the violations of the Clean
Water Act set forth in the Complaint filed in this action, through the date of lodging this Decree,
Payment shall be made by Fedwire Electronic Funds Transfer (“EFT”) to the U.S. Department of
Justice account in accordance with current electronic funds transfer procedures, referencing
USAO file number, and DOJ case number 90-5-1-1-06644. Payment shall be made in
accordance with instructions provided to the Town of Newburgh upon lodging of this Decree.
Any EFTs received at the DOJ lockbox bank after 1 1200 a.m. Eastern Time will be credited on
the next business day. Within five (5) days of the date of payment, the Town of Newburgh shall
send written notice of payment and a copy of any transmittal documentation to the United States
in accordance With Section XIII (Notice) of this Decree,

17. Upon final entry of this Decree, the United States shall be deemed a judgment
creditor for purposes of collection of this penalty and enforcement of this Decree. Interest shall
accrue upon any balance unpaid after thirty (30) days from the entry of this Decree at the
statutory judgment interest rate prescribed at 28 U.S.C. § 1961 in effect on the day this Decree is

entered by the Court. Payment of interest made under this Paragraph shall be in addition to such

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other remedies or sanctions available to the United States by virtue of the Town of Newburgh’s

failure to make timely payment under this Section.

VII. STIPULATED PENALTIES

18. If the Town of Newburgh fails to timely submit any report required by Paragraphs
11 through 16, the Town of Newburgh shall pay a stipulated penalty of two hundred fifty dollars
($250) per day until the required report is submitted. Provided, however, the total stipulated
penalties for a failure to submit a periodic report shall run only until the date that the next
periodic report is submitted.

19. If the Town of Newburgh fails to comply with any daily minimum or maximum
effluent limitation or monitoring requirement contained in its NPDES Permit, the Town of

Newburgh shall pay the following stipulated penalties:

 

Period of Failure to Complv Stip_ulated Penalg
1St to Sth violation in a month $500/day per violation
Any additional violations in a month $1,000/day per violation

20. If the Town of Newburgh fails to comply with any weekly average limitation in

its NPDES Permit, the Town of Newburgh shall pay the following stipulated penalties:

 

Period of Failure to Complv Stipulated Penalg

Any weekly average violations $1,000 per violation

in one week

Any weekly average violations $3,000 per violation of weekly average per
that continue beyond one week week beyond the first week of violation

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21. lf the Town of Newburgh fails to comply with any 30 day average (monthly
average) limitation in its NPDES Permit, the Town of Newburgh shall pay the following

stipulated civil penalties:

Monthly Average Violations Stipulated Penalty
Any monthly average violations $5,000 per violation of monthly average

in one month

Any monthly average violation that $7,500 per violation of monthly average per
continues beyond one month month beyond the first month of violation

22. lf the Town of Newburgh fails to comply with any deadline set forth, required, or
incorporated by reference, in Paragraph 7 of this Consent Decree, the Town of Newburgh shall

pay the following stipulated penalties:

Period of Failure to Comply Stipulated Penalg

1st to 30th day y $500 per day per violation
31St to 60.th day $1,250 per day per vio1ation
After 60 days $2,500 per day per violation

23. lf the Town of Newburgh fails to comply with the prohibition on SSO discharges
in Paragraph 8 of` this Decree, the Town of` Newburgh shall pay stipulated penalties of one
thousand dollars ($l ,000) per day of violation.

24. The stipulated penalties under this Decree are in addition to other remedies or
sanctions available to the Plaintiffs by reason of the Town of Newburgh’s failure to comply with
the requirements of this Decree, its NPDES Permit, or the Clean Water Act. Notwithstanding

any other provision of this Section, the United States and the S_tate of Indiana may, in their

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unreviewable discretion, waive any portion of stipulated penalties that have accrued pursuant to
this Consent Decree .

25. The Town of Newburgh shall pay any stipulated penalties due under this Decree
as follows: The Town of Newburgh shall pay fifty percent (50%) of the penalty to the United
States by certified or cashiers check payable to "Treasurer, United States of America," and shall
tender payment to the United States Attorney for the Southern District of Indiana, U.S.
Courthouse, 5th Floor, 46 East Ohio St., Indianapolis, IN 46204, and shall pay fifty percent
(50%) of the penalty to the State of Indiana by certified or cashiers check payable to the
“Environmental Management Special Fund” and shall tender payment to Cashier, IDEM, 100
North Senate Avenue, P.O. Box 7060, lndianapolis, IN 46207-7060. Newburgh shall pay any
stipulated penalties within thirty (30) days of the date that the Town of Newburgh receives a
written demand from U.S. EPA or the State of Indiana, unless the Town of Newburgh initiates
dispute resolution in accordance with Section IX (Dispute Resolution) of this Decree, in which
case such penalties shall be addressed in Paragraph 37. The Town of Newburgh shall send a
copy or other evidence of any payment made pursuant to this Section to the United States and the
State of Indiana at the addresses in Section XIII (Notice). With respect to the United States,
interest shall accrue on any overdue amounts as provided in Paragraph 19 of this Decree. With _'
respect to the State, interest shall accrue on any overdue amounts at the rate established by IC
24-4.6-1-101.

26. All stipulated penalties shall begin to accrue on the day after performance is due

or on the day a violation occurs, and shall continue to accrue until the day compliance is

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achieved. Nothing in this Decree prevents the simultaneous accrual of separate penalties for
separate violations of this Decree,

27. No penalties or interest shall accrue for violation(s) of deadlines imposed by this
Decree that were caused by events determined to be a force majeure pursuant to Section VIII
(Delays or Impediments to Performance (Force Majeure)) of this Decree or with respect to
matters in which the Town of Newburgh prevails in dispute resolution.

VIII. DELAYS OR IMPEDIMENTS TO PERFORMANCE (Force Majeure)

28. Force Majeure -- "Force Ma]'eure" for the purposes of this Consent Decree is
defined as an event arising from causes beyond the ”l`own of Newburgh’s control or the control
of any entity controlled by the Town of Newburgh, including its consultants and contractors,
which delays or prevents the performance of any obligation under this Consent Decree and
which could not be overcome by due diligence. Unanticipated or increased costs or changed
financial circumstances are not Force Majeure events. Failure to apply for a required permit or
approval, or to provide in a timely manner all information required to obtain a permit or approval
necessary to meet the requirements of this Consent Decree, are not Force Majeure events.

29. If any event occurs or has occurred that may delay the performance of any
obligation under this Decree, whether or not due to a Force Majeure event, the Town of
Newburgh shall notify in writing the Plaintiffs within ten days of when the Town of Newburgh
first knows, or in the exercise of due diligence should have known, that the event is likely to
cause a delay. The notice shall (i) refer to this Section of the Decree, (ii) describe in detail the

anticipated length of time the delay may persist, (iii) describe the precise cause or causes of the

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delay, (iv) describe the measures taken or to be taken by the Town of Newburgh to prevent or
minimize the delay as well as to prevent future delays, and (v) set forth the schedule by which
those measures will be implemented. The Town of Newburgh shall adopt all reasonable
measures to avoid or minimize any such delay. Failure by the Town of Newburgh to comply
with the notice requirements of this Section shall preclude the Town of Newburgh from asserting
any claim of force majeure for that event for the period of time of such failure to comply.

30. If the Plaintiffs find that a delay or anticipated delay in performance is, or was,
caused by a Force Majeure event, the time for performance may be extended for a period not to
exceed the actual delay resulting from such event, and stipulated penalties shall not be due for
such period. The Plaintiffs shall notify the Town of Newburgh in writing of the Plaintiffs’
agreement or disagreement with the Town of Newburgh’s claim of Force Majeure within 30 days
of receipt of the Town of Newburgh’s notice under Paragraph 31 of this Decree or within such
additional time as the Plaintiffs may notify the Town of Newburgh is needed. If the Plaintiffs
disagree with Newburgh’s claim of Force Majeure, the Town of Newburgh may submit the
matter to the Court for resolution pursuant to Section IX (Dispute Resolution) of this Decree. If
the Town of Newburgh submits the matter to the Court for resolution and the Court determines
that the delay was caused by a Force Majeure event, the Town of Newburgh shall be excused as
to that delay but only for the period of time the delay continued or continues due to such
circumstances

31. Compliance with the terms of this Decree by the Town of Newburgh is not

conditioned on the receipt of grant funds, loans, or outside sources of funding. In addition, any

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failure of the Town of Newburgh to comply with the terms of this Decree shall not be excused by
the lack of, or any delay in the processing of applications for grant funds, loans or outside
sources of funding

32. Compliance with any requirement of this Decree by itself shall not constitute
compliance with any other requirement. An extension of one compliance date based on a
particular incident shall not necessarily result in an extension of a subsequent compliance date or
dates The Town of Newburgh must make an individual showing of proof regarding each
delayed incremental step or other requirement for which an extension is sought.

33. The Town of Newburgh shall bear the burden of proving that any delay or
violation of any requirement of this Consent Decree was caused by a Force Majeure event. The
Town of Newburgh shall also bear the burden of proving the duration and extent of any delay or
violation attributable to such circumstances

IX. DISPUTE RESOLUTION

34. The provisions of this Section shall be used to resolve any disputes between the
Parties. If the Parties are unable to agree upon any requirement or other matter described in this
Decree, or in the event a dispute should arise among the parties regarding the implementation of
the requirements of this Decree, the Parties shall attempt to resolve the dispute through
negotiation for at least fifteen (15) calendar days The period for negotiations may be extended
by agreement of the parties to this Decree. If the dispute is not resolved, any Party may apply to
the Court for assistance in resolving the dispute within thirty (30) days from the close of informal

negotiations Any application to the Court shall set forth the nature of the dispute and a proposal

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for resolution. The other Party shall have thirty (30) days to file a response. The legal standard
applicable to any such dispute shall be the standard provided by applicable law.

35. The invocation of formal dispute resolution procedures under this Section shall
not of itself extend or postpone any obligation of the Town of Newburgh under this Decree, but
the payment of stipulated penalties with respect to the disputed matter shall be stayed pending
resolution of the dispute. Notwithstanding the stay of payment, stipulated penalties for which a
demand has been tendered pursuant to Paragraph 27 shall continue to accrue from the first day of
noncompliance with any provision of this Decree and shall be paid within fifteen (15) calendar
days after the Court issues an order resolving the dispute in the Plaintiffs’ favor or after the
resolution in the Plaintiffs’ favor of any appeal concerning the dispute. To the extent that the
Town of Newburgh prevails on the disputed issue, stipulated penalties shall be excused.

X. RIGHT OF ENTRY

36. Commencing on the date of lodging of this Consent Decree, Newburgh agrees to
provide the Plaintiffs and their representatives (including attorneys contractors and consultants), `
access at all times to all areas and facilities under Newburgh’s control, and to allow such
representatives to move about, without restriction, for the purposes of conducting any activity
related to this Consent Decree, including:

(a) monitoring the progress of activities required by this Decree;

(b) verifying any data or information submitted to the Plaintiffs in accordance with
the terms of this Decree;

(c) obtaining samples, and, upon request, splits of any samples taken by the Town of
Newburgh or its consultants; and

(d) assessing the Town of Newburgh’s compliance with this Decree.

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37. Notwithstanding any provision of this Decree, the Plaintiffs retain all access
authorities and rights, including enforcement authorities related thereto, under the Clean Water
Act and any other applicable statute or regulations

Xl. EFFECT OF DECREE

38. This Decree is not and shall not be interpreted to be a permit, or a modification of
an existing permit, issued pursuant to Section 402 of the Clean Water Act, 33 U.S.C. § 1342, nor
shall it in any way relieve the Town of Newburgh of its obligation to obtain a permit and comply
with the requirements of an NPDES permit or with any other applicable federal, state, or local
law or regulation. Nothing in this Decree alters the Town of Newburgh’s obligations to comply
with any new permit or modification of existing pennits, in accordance with applicable federal,
state, and local laws and regulations

39. This Decree in no way affects or relieves the Town of Newburgh of responsibility
to comply with any federal, state, or local law or regulation. Nothing contained in this Decree
shall be construed to prevent or limit the United States’ or the State of lndiana’s rights to obtain
penalties or injunctive relief under the Act or other federal or state statutes or regulations except
as expressly specified herein.

40. The Plaintiffs do not, by their consent to the entry of this Decree, warrant or aver-
in any manner that the Town of Newburgh’s complete compliance with this Decree will result in
compliance with the provisions of the Clean Water Act, 33 U.S.C. § 1251 e_t M, or any
applicable discharge permit. Notwithstanding the Plaintiffs’ review and approval of any

submission formulated pursuant to this Decree, the Town of Newburgh shall remain solely

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responsible for compliance with the terms of the Act, this Decree, and any other applicable law,
including any discharge permit,
41. The Town of Newburgh is responsible for achieving and maintaining complete
compliance with all applicable federal, state, and local laws, regulations, and permits, and
compliance with this Decree shall be no defense to any actions commenced pursuant to said
laws, regulations or permits

42. This Decree does not limit or affect the rights of the Town of Newburgh, the State
of Indiana, or the United States as against any third parties, nor does it limit the rights of third
parties, not parties to this Decree, against the Town of Newburgh.

43. The United States and the State of Indiana reserve any and all legal and equitable
remedies available to enforce the provisions of this Decree,

Xll. COSTS OF SUIT
44. Each party shall bear its own costs and attorney’s fees in this action.
XIII. NOTICE

45. Except as specified otherwise, when written notification to or communication
with a party is required by the terms of this Decree, it shall be addressed as specified below. All
notices and submissions shall be considered effective upon receipt.

As to the United States:

United States Attorney for

the Southern District of Indiana

10 West Market Street, Suite 2100

Indianapolis, IN 46204

and

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United States Department of Justice
Environment and Natural Resources Division
DOJ # 90-5-1-1-06644

Environmental Enforcement Section

P.O. Box 7611 Ben Franklin Station
Washington, DC 20044-7611

and

Water Division, Compliance Section 2

U.S. Environmental Protection Agency - Region 5
Mail Code WC-15J

77 West Jackson Boulevard

Chicago, Illinois 60604

As to the State of Indiana

To the Indiana Attorney General:

Environmental Section

Office of the Attorney General
Indiana Govemment Center South,
5th Floor

302 West Washington Street
Indianapolis, IN 46204

and
To IDEM:
Chief, Compliance Branch
Office of Water Quality
Indiana Department of Environmental Management
100 North Senate Avenue
P.O. Box 6015
Indianapolis, IN 46206

and

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Chief, Enforcement Section

Office of Legal Counsel

Indiana Department of Environmental Management

100 North Senate Avenue '

P.O. Box 6015

Indianapolis, IN 46206

As to Defendant:

R. Thomas Bodkin

Bamberger, Foreman, Oswald and Hahn

7th Floor Hulman Building

20 N.W. 4th Street

P.O. Box 657

Evansville, lndiana 47704

812/452-3562

812/421-4936 (fax)

XIV. INTEGRATION AND MODIFICATION

46. This Decree represents the entire agreement of the parties There shall be no
modification of this Decree without written approval of all of the parties to this Decree and the
Court.

XV. PUBLIC COMMENT

47. This Decree shall be lodged with the Court for a period of not less than thirty (30)
days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States
reserves the right to withdraw or withhold its consent if the comments regarding the Decree

disclose facts or considerations which indicate that the Decree is inappropriate, improper, or

inadequate. The Town of Newburgh consents to the entry of this Decree without further notice.

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XVI. CONTINUING JURISDICTION OF THE COURT

48. The Court shall retain jurisdiction to enforce the terms and conditions of this

Decree and to resolve disputes arising under this Decree as may be necessary.
XVII. CERTIFICATION

49. Any notice, report, certification, data presentation or other document submitted by
the Town of Newburgh under or pursuant to this Decree, which discusses, describes,
demonstrates, supports any finding, or makes any representation concerning the Town of
Newburgh’s compliance or non-compliance with any requirement(s) of this Decree shall be
certified by a responsible employee or official of the Town of Newburgh.

50. The term "responsible employee or official" shall mean the mayor, town manager,
or the sewer system manager for the Town of Newburgh, or any other person who performs
similar policy or decision making functions for the Town of Newburgh.

51. The certification of the responsible employee or official shall be in the following
form:

I certify under penalty of law that this document and all attachments were

prepared under my direction or supervision in accordance with a system designed

to assure that qualified personnel properly gather and evaluate the information

submitted. Based on my inquiry of the person or persons who manage the system,

or those persons directly responsible for gathering the information, the

information submitted is, to the best of my knowledge and belief, true, accurate,

and complete. I am aware that there are significant penalties for submitting false

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information, including the possibility of fine, imprisonment, or both, for knowing
violations §e_e_:, egg 18 U.S.C. § 1001.
XVIII. WAIVER OF SERVICE

52. For purposes of this civil action, the Town of Newburgh agrees to accept service
of process by mail and to waive the formal service requirements set forth in Rule 4 of the Federal
Rules of Civil Procedure and any applicable local rules of this Court, including but not limited to
service of a summons

XIX. TERMINATION

53. This Decree shall terminate within 30 days after all of the following have
occurred:

(a) The Town of- Newburgh has completed all recommendations set forth in the final
audit report required in Paragraph 7 of this Decree;

(b) Subsequent to completion of all recommendations set forth in the final audit
report required in Paragraph 7 of this Decree, the Town of Newburgh has maintained compliance
with the prohibition on sanitary sewer overflows in Paragraph 8 of this Decree for a period of not
less than six consecutive months;

(c) The Town of Newburgh has paid all penalties and interest due under this Decree
and no penalties are outstanding or owed to the United States or the State of lndiana;

(d) The Town of Newburgh has complied with all of the reporting requirements in

Paragraphs 1 1-17 of this Decree;

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(e) The Town of Newburgh has certified compliance, pursuant to Paragraph 55(a),
(b), (c) and (d) and in accordance With Section XVII (Certification) of this Decree, to the Court,
the United States, and the State of Indiana; and,

(f) The Plaintiffs have not disputed the certification Submitted pursuant to Paragraph
55(e) Within 60 days of receiving it. lf the Plaintiffs dispute the Town of Newburgh’s
certification, the Decree shall remain in effect pending resolution of the dispute by the Parties or

the Court.
Entered this !é day of EP> , 200?

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D sTATEs rsr CT CoURT JUDGE

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THE UNDERSIGNED PARTIES enter into this Consent Decree in the matter of United States
et al., v. Town of Newburgh, No. (S.D. Ind.).

 

FOR THE DEFENDANT:
§ j j §§ 22 ij Z'X 15 Town of Newburgh
Date Name of Defendant
P.O. Box 6, Newburgh, Indiana 47629
Address

812-853-7111
Telephone Number

  
 

By: William F. Kavanaugh fo
Name of Offi er'fplease type oli- pint)

\a

PresiderLNewburgh Town Co 4
Title

  

If different from above, the following is the name and address of Defendant's agent for service
and, if Defendant has counsel, the name and address of Defendant's counsel. Counsel may act as
agent for service.

Agent for Service Attorney

R. Thomas Bodkin
Name Name

20 N.W. 4th street Evansviue, Indiana 47704
Address Address

812-452-3562
Telephone

Defendant shall notify the United States Department of Justice and U.S. EPA of any change in
the identity or address of Defendant, its agent for service, or its counsel.

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THE UNDERSIGNED PARTIES enter into this Consent Decree in the matter of United States
et al., v. Town of Newburgh, No. (S.D. Ind.).

 

FOR THE UNITED STATES OF AMERICA:

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Kelly A. ohnson DATE
Acting Assistant Attorney General

Environmental and Natural Resources Division

United States Department of Justice

Washington, DC 20530

 

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'Leslie E. Lehnert DATE
Trial Attorney

Environmental Enforcement Section

United States Department of Justice

P.O. Box 7611

Washington, D.C. 20044-7611

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Thomas E. Kieper
Assistant United States Attorney
Southern District of Indiana

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THE UNDERSIGNED PARTIES enter into this Consent Decree in the matter of United States
et al., v. Town of Newburgh_ No. (S.D. Ind.).

 

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Ma'rk Pollins, Di@?t)l
Water Enforcemen Division,
Office of Civil» Enforcement
Office of Enforcement and Compliance Assurance
U.S. Environmental Protection Agency

1200 Pennsylvania Avenue, NW
Washington, DC, 20004

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THE UNDERSIGNED PARTIES enter into this Consent Decree in the matter of United States
et al., v. Town of Newburgh, No. (S.D. Ind.).

 

 

 

Thomas V. Skinner DATE pf -' 50 - 05
Regional Administrator

U.S. Environmental Protection Agency

Mail Code R-19J

77 W. Jackson Boulevard

Chicago, Illinois 60604

 

Arrazola DATE
Associate Regional Counsel
U.S. Environmental Protection Agency
Mail Code C-14J
77 West Jackson Blvd.
Chicago, Illinois 60604

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THE UNDERSIGNED PARTIES enter into this Consent Decree in the matter of United States
et al., v. Town of Newburgh, No. (S.D. Ind.).

FOR THE STA OF lNDlANA

Thomas W. Easterly DATE / U// L//Z UO§
Commissioner
Indiana Department of Environmental Management

 

Approved as to form and legality

Steve Carter
Indiana Attorney General

Charles J. Todd l

Chief Operating Officer

Office of the Attorney General
Indiana Govemment Center South
5th Floor 1

302 West Washington Street
lndianapolis, IN 46204

DATE !b-Z@~QS"

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